           Case 2:19-cv-01260-RJC Document 5 Filed 01/08/20 Page 1 of 4




                IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF PENNSYLVANIA
                                 PITTSBURGH


LOUIS ANTHONY GALLO,       )
                           )
                           )        2:19-cv-1260-NR
        Plaintiff,         )
                           )
    vs.                    )
                           )
CHAD WEAVER, et al.,       )
                           )
                           )
        Defendants.        )
                           )
                           )
                           )
     ORDER SCHEDULING INITIAL CASE MANAGEMENT
                     CONFERENCE
      The above case has been assigned to United States District Judge J.

Nicholas Ranjan for all further proceedings. The following deadlines shall

apply:

      I.      Initial Rule 16 Case Management Conference

      Pursuant to Local Rule 16.1, an Initial Case Management Conference is

scheduled for February 10, 2020 at 2:00 PM in Courtroom 6C, Sixth Floor,

Joseph F. Weis, Jr. U.S. Courthouse, 700 Grant Street, Pittsburgh, PA,

15219. The parties should be prepared to discuss scheduling, settlement,

anticipated discovery needs, and the potential for narrowing issues or

otherwise expediting disposition of the action. All counsel and unrepresented

parties shall bring their calendars to the conference for scheduling purposes.
        Case 2:19-cv-01260-RJC Document 5 Filed 01/08/20 Page 2 of 4




      II.    Rule 26(f) Conference

      Pursuant to Federal Rule of Civil Procedure 26(f), the parties must

meaningfully confer to consider the nature and basis of their claims and

defenses, proposed deadlines, the nature and scope of discovery, and the

possibilities for a prompt settlement or resolution of the case. The parties

also must agree upon timing for the exchange of initial disclosures required

by Rule 26(a)(1).

      III.   Rule 26(f) Report and ADR Stipulation

      At least seven (7) days prior to the Rule 16 Initial Case Management

Conference, the parties shall confer and file a completed version of the

attached Rule 26(f) Report (listed as Exhibit #1) and a stipulation on the

use of Alternative Dispute Resolution (ADR). The ADR Stipulation must

contain the information specified on the Court’s Website under ADR Program

Information (https://www.pawd.uscourts.gov/adr-program-information), and

it must comply with Local Rule 16.2. The parties must identify the type of

ADR selected, the proposed neutral, the date by which ADR will be

completed, and the names of all people attending (including a corporate

representative with settlement authority, if applicable).

      IV.    Expedited Civil Litigation Alternative to Mandatory ADR

      Effective September 4, 2012, as an alternative to participating in the

Court’s ADR process, the parties may elect to participate in this Court’s
           Case 2:19-cv-01260-RJC Document 5 Filed 01/08/20 Page 3 of 4




Expedited Litigation Program. The purpose of this program is to offer parties

the option of alternative, abbreviated, efficient, and cost-effective litigation

and trial. Participation is entirely voluntary. Further information about

the program can be found on the Court’s website at:

https://www.pawd.uscourts.gov/expedited-civil-litigation.

      Parties who wish to participate in the Expedited Civil Litigation

Program, should meet and confer collectively and with their respective clients

and discuss all aspects of the Program before executing the Expedited Docket

Stipulation, available at the website referenced above. When discussing this

option, the parties should consider: the cost of litigation; the complexity of the

case; the number of witnesses; the likelihood of a successful dispositive

motion; the pretrial and post-trial limitations established by the Program;

and the relative value of the case. The irrevocable Expedited Docket

Stipulation is due at least three (3) business days prior to the Initial Rule 16

Scheduling Conference. Note that the filing of the Expedited Docket

Stipulation, negates the requirement of the parties to file a Stipulation

Selecting ADR Process.

      V.      Practices and Procedures

      Counsel must familiarize themselves with the Court’s Practices and

Procedures, available on the Court’s website:
        Case 2:19-cv-01260-RJC Document 5 Filed 01/08/20 Page 4 of 4




https://www.pawd.uscourts.gov/sites/pawd/files/Ranjan_Practices_Procedures

_10_19.pdf.

     All parties will be held responsible for compliance with the Practices

and Procedures and any subsequently published revisions or amendments.

     DATED this 8th day of January, 2020.
                                   BY THE COURT:


                                   /s/ J. Nicholas Ranjan
                                   United States District Judge
